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   8                             UNITED STATES DISTRICT COURT
   9                          SOUTHERN DISTRICT OF CALIFORNIA
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  11    ALAN CARPENTER AND TRACY                                    CASE NO. 07cv0166 DMS (POR)
        RAGSDALE, individuals,,
  12                                                                ORDER (1) GRANTING
                                              Plaintiffs,           PLAINTIFFS’ MOTION FOR
  13            vs.                                                 PREJUDGMENT INTEREST AND
                                                                    (2) DENYING WITHOUT
  14                                                                PREJUDICE PLAINTIFFS’
                                                                    MOTION FOR REASONABLE
  15    Tug MICHAEL UHL, her engines,                               ATTORNEYS’ FEES
        machinery, tackle, equipment, furnishings
  16    and appurtenances, in rem, and MARITIME                     [Docket No. 128]
        LOGISTICS, INC., FRANK LOVING, and
  17    individual, and BLAINE HUGHES, an
        individual in personam,
  18
                                            Defendants.
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  20          This case comes before the Court on Plaintiffs’ motion for prejudgment interest and reasonable
  21   attorneys’ fees. Defendants filed an opposition to the motion, and Plaintiffs filed a reply. For the
  22   reasons set out below, the Court grants Plaintiffs’ motion for prejudgment interest and denies without
  23   prejudice their motion for reasonable attorneys’ fees.
  24          Defendants do not dispute that an award of prejudgment interest is appropriate in this case.
  25   However, they do dispute the interest rate to be applied, and how it should be calculated. After
  26   reviewing the parties’ briefs and the relevant legal authority, the Court awards Plaintiffs’ prejudgment
  27   interest at their requested rate of 3.62 percent, compounded annually, for a total of $50,760.84.
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   1          Turning to Plaintiffs’ request for attorneys’ fees, the motion should have been filed “no later
   2   than 14 days after the entry of judgment[.]” Fed. R. Civ. P. 54(d)(2)(B)(i). The judgment was filed
   3   on June 18, 2009, therefore Plaintiffs should have filed their motion on or before July 2, 2009.
   4   Plaintiffs did not file their motion until July 6, 2009. Having failed to file their motion in a timely
   5   manner, Plaintiffs may have waived their claim for attorneys’ fees. See Port of Stockton v. Western
   6   Bulk Carrier KS, 371 F.3d 1119, 1122 (9th Cir. 2004). Furthermore, they have failed to demonstrate
   7   good cause to excuse that waiver. See Kona Enterprises, Inc. v. Estate of Bishop, 229 F.3d 877, 889-
   8   90 (9th Cir. 2000). Absent this showing, Plaintiffs’ motion for reasonable attorneys’ fees is denied
   9   without prejudice.1
  10          IT IS SO ORDERED.
  11   DATED: September 29, 2009
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  13                                                    HON. DANA M. SABRAW
                                                        United States District Judge
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                The Court notes that if Plaintiffs resubmit their request for attorneys’ fees, they should also
  28   submit detailed time records to support their request, either in camera or pursuant to a stipulated
       protective order.

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